[Cite as State v. Keirns, 2024-Ohio-3177.]



             IN THE COURT OF APPEALS OF OHIO
                              SEVENTH APPELLATE DISTRICT
                                 COLUMBIANA COUNTY

                                             STATE OF OHIO,

                                             Plaintiff-Appellee,

                                                     v.

                                  RANDALL WAYNE KEIRNS,

                                        Defendant-Appellant.


                        OPINION AND JUDGMENT ENTRY
                                             Case No. 23 CO 0053

                                  Criminal Appeal from the
                      Court of Common Pleas of Columbiana County, Ohio
                                   Case No. 2021 CR 427

                                         BEFORE:
                   Mark A. Hanni, Carol Ann Robb, Katelyn Dickey, Judges.


                                                JUDGMENT:
                                                  Affirmed.



Atty. Vito J. Abruzzino, Columbiana County Prosecutor, and Atty. Shelley M. Pratt,
Assistant Prosecuting Attorney, Columbiana County Prosecutor's Office, for Plaintiff-
Appellee and

Atty. Donald K. Pond, for Defendant-Appellant.

                                        Dated: August 20, 2024
                                                                                        –2–



HANNI, J.

       {¶1}   Defendant-Appellant, Randall Wayne Keirns, appeals from a Columbiana
County Court of Common Pleas judgment convicting him of compelling prostitution and
possessing criminal tools following a jury trial, and the sentence that followed. Appellant
now contends that his counsel did not advocate for him at his sentencing hearing and
consequently he was deprived of effective assistance of counsel. Because Appellant’s
counsel was not ineffective, the trial court’s judgment is affirmed.
       {¶2}   On July 1, 2021, East Palestine Police Detective and member of the
Mahoning Valley Human Trafficking Task Force, Daniel Haueter, posted an
advertisement on a prostitution website. Det. Haueter used the pseudonym “Bekka” and
portrayed himself as a 16-year-old girl. This was done as part of an undercover operation
to curtail prostitution involving minors.
       {¶3}   Appellant responded to “Bekka’s” post via text message. Appellant and
“Bekka” engaged in a series of text messages over the course of July 1 and 2, 2021.
They arranged to meet for sex at a location in East Palestine. Appellant agreed to pay
“Bekka” $180. He also told her he would bring beer and condoms. He stated he would
be driving a Dodge RAM pickup truck. When Appellant arrived at the agreed-upon
location in a Dodge RAM pickup truck, task force members placed him under arrest. In
his truck, the task force found beer, condoms, cash, and the cell phone from which the
messages to “Bekka” were sent.
       {¶4}   On September 15, 2021, a Columbiana County Grand Jury indicted
Appellant on one count of compelling prostitution, a third-degree felony in violation of R.C.
2907.21(A)(2)(b); one count of engaging in prostitution, a first-degree misdemeanor in
violation of R.C. 2907.231(B); and one count of possessing criminal tools, a fifth-degree
felony in violation of R.C. 2923.24(A). On the motion of Plaintiff-Appellee, the State of
Ohio, the trial court later dismissed the engaging in prostitution count.
       {¶5}   The matter proceeded to a jury trial on the remaining two counts on
November 15, 2023. The jury found Appellant guilty as charged. At the conclusion of the
trial, the court asked both parties if they were prepared to proceed to sentencing. Both
Appellant and the State agreed that they were ready to go forward with sentencing.



Case No. 23 CO 0053                                                                                      –3–


       {¶6}   The trial court sentenced Appellant to 36 months for compelling prostitution
and 12 months for possessing criminal tools. The court ordered Appellant to serve his
sentences concurrently for a total sentence of 36 months in prison. The court also
designated Appellant as a Tier II Sex Offender.
       {¶7}   Appellant filed a timely notice of appeal on December 5, 2023. He now
raises a single assignment of error.
       {¶8}   Appellant’s sole assignment of error states:

       DEFENSE       COUNSEL       CONDUCTED         LIMITED     ADVOCACY        AT
       SENTENCING.          THUS, DEFENDANT-APPELLANT RANDALL KEIRNS
       SUFFERED       A     DEPRIVATION      OF   HIS   RIGHT    TO    EFFECTIVE
       ASSISTANCE OF COUNSEL AT SENTENCING, CONTRARY TO THE
       SIXTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
       CONSTITUTION.

       {¶9}   Appellant argues his counsel was ineffective for making a minimal effort on
his behalf at sentencing.
       {¶10} To prove an allegation of ineffective assistance of counsel, the appellant
must satisfy a two-prong test. First, appellant must establish that counsel's performance
has fallen below an objective standard of reasonable representation.          Strickland v.
Washington, 466 U.S. 668, 687 (1984); State v. Bradley, 42 Ohio St.3d 136 (1989),
paragraph two of the syllabus.         Second, appellant must demonstrate that he was
prejudiced by counsel's performance. Id. To show that he has been prejudiced by
counsel's deficient performance, appellant must prove that, but for counsel's errors, the
result of the trial would have been different. Bradley, at paragraph three of the syllabus.
       {¶11} Appellant bears the burden of proof on the issue of counsel's
ineffectiveness. State v. Calhoun, 86 Ohio St.3d 279, 289 (1999). In Ohio, a licensed
attorney is presumed competent. Id.       {¶12} Appellant claims his counsel was ineffective in four ways.
       {¶13} First, Appellant contends his counsel should not have agreed to proceed
immediately to sentencing following the trial. He claims the evidence against him was so




Case No. 23 CO 0053                                                                                       –4–


overwhelming and his denial was so misguided that he needed time to consider the
implication of his conviction before he spoke to the court in allocution.
       {¶14} After the jury was dismissed, the trial court asked the prosecutor and
defense counsel if they were ready to go forward with sentencing. (Tr. 347). Both agreed
that they were ready to proceed. (Tr. 347).
       {¶15} There is nothing in the record to suggest that had the trial court sentenced
Appellant at a later date, his sentence would have been different. The burden here is on
Appellant to prove prejudice.
       {¶16} Second, Appellant claims counsel failed to prepare and advise him of what
to say in allocution.
       {¶17} Again, the burden here is on Appellant. The record reflects that Appellant
had been through multiple attorneys in this case and attempted to represent himself at
one point. Nothing in the record proves that his counsel did not prepare him for the
possibility of sentencing and allocution. And there is no reason to believe that Appellant
would have disclosed to his counsel that he intended to tell the court this case was a
“witch hunt” and then his counsel could have advised him not to do so.
       {¶18} Third, Appellant asserts his counsel failed to explain to the court Appellant’s
personal circumstances in relation to the seriousness and recidivism factors.
       {¶19} In advocating for Appellant, defense counsel first emphasized that
Appellant had no prior criminal record. (Tr. 349). Counsel then brought up the fact that
Appellant had been a “hard-working” civil engineer. (Tr. 349). She noted that Appellant
was not able to renew his professional license due to the allegations against him, which
resulted in his unemployment. (Tr. 350). Counsel asked the court to consider imposing
community control for Appellant. (Tr. 350). And counsel asked, if the court was not
inclined to impose community control, for the court to impose a sentence at the lower end
of the sentencing range for nine months. (Tr. 350). Thus, counsel did advocate on
Appellant’s behalf for a lesser sentence calling to the court’s attention Appellant’s
personal circumstances. Moreover, there is no evidence on the record of any other
personal circumstances that may have been favorable to Appellant. It is quite possible
the circumstances set out by counsel were the only favorable items she had to work with.




Case No. 23 CO 0053                                                                                      –5–


       {¶20} Finally, Appellant argues counsel should have conveyed to the court
Appellant’s knowledge of the wrongfulness of his actions.
       {¶21} The court asked Appellant if he would like to make a statement. (Tr. 350).
Appellant asked, “Right now?” (Tr. 350). He spoke to the court about how he has served
his community through his profession as a civil engineer. (Tr. 351). Appellant then stated
that he was the target of a “witch hunt” in this case, which he did not deserve. (Tr. 351).
       {¶22} Appellant now argues his counsel should have conveyed his knowledge of
the wrongfulness of his actions to the court.      But Appellant offered no remorse or
accountability for his actions. At trial, Appellant took the stand and testified repeatedly
that the incriminating text messages sent from his phone were “manufactured” and he did
not send them. (Tr. 278, 284-291). He claimed he thought he was meeting a woman for
a date. (Tr. 274, 293). Throughout the case, Appellant claimed that he was set up for
these charges. Thus, it would be insincere at best for counsel to claim that Appellant was
taking responsibility for his actions and demonstrating remorse.
       {¶23} Proof of ineffective assistance of counsel must contain more than vague
speculations of prejudice. State v. Watkins, 2008-Ohio-6634, ¶ 55 (7th Dist.), citing State
v. Otte, 1996-Ohio-108. Strategic decisions by counsel regarding mitigation at sentencing
do not demonstrate deficient performance where nothing in the record shows the
presentation of other evidence would have assisted. State v. Johnson, 2020-Ohio-7025,
¶ 36 (7th Dist.), citing State v. Bryan, 2004-Ohio-971, ¶ 189.
       {¶24} The burden here is on Appellant.           He cannot show his counsel's
performance fell below an objective standard of reasonable representation. Moreover,
there is no indication whatsoever that had his counsel proceeded differently at
sentencing, his sentence would have been different.         Therefore, Appellant cannot
demonstrate that he suffered from ineffective assistance of counsel.
       {¶25} Accordingly, Appellant’s sole assignment of error is without merit and is
overruled.
       {¶26} For the reasons stated above, the trial court’s judgment is hereby affirmed.

Robb, P.J., concurs.

Dickey, J., concurs.



Case No. 23 CO 0053[Cite as State v. Keirns, 2024-Ohio-3177.]




        For the reasons stated in the Opinion rendered herein, the assignment of error is
overruled and it is the final judgment and order of this Court that the judgment of the Court
of Common Pleas of Columbiana County, Ohio, is affirmed. Costs to be waived.
        A certified copy of this opinion and judgment entry shall constitute the mandate in
this case pursuant to Rule 27 of the Rules of Appellate Procedure. It is ordered that a
certified copy be sent by the clerk to the trial court to carry this judgment into execution.




                                         NOTICE TO COUNSEL

        This document constitutes a final judgment entry.
